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                                                                                       FILED
                                                                                       JUL 16 2020
                                     UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF COLUMBIA                Clerk, U.S. District & Bankruptcy
                                                                                 Court for the District of Columbia
                                                                  Case: 1:20−mc−00052
    JOHN DOE,                                                     Assigned To : Unassigned
                                                                  Assign. Date : 7/16/2020
                                Plaintiff,                        Description: Misc.
                                                             Civil Action No. 20-cv-
                                v.
                                                             Chief Judge Beryl A. Howell
    OFFICE OF PERSONNEL
    MANAGEMENT, et al.,

                                Defendants.

                                       MEMORANDUM AND ORDER

         The plaintiff in this action, an



Compl. ¶ 3, has moved to proceed under a                               & Incorporated Mem. to

                                                  , in his instant action seeking records under the

                                                       552, and the Privacy Act             , 5 U.S.C.

§ 552a. For the reasons set forth below, the motion is denied. 1

I.       BACKGROUND

         In 2013, plaintiff was the subject of a security clearance investigation. Compl. ¶ 5.

Although he does not say so explicitly, the results of that investigation were evidently adverse



Id. To that end, in December 2018 and again in February 2019, he submitted a FOIA/PA

request to the

related to any background and security clearance investigations wherein Plaintiff was the



1
                                                                            . . motion[s] to seal the
address of the plaintiff, and                                                    .


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          Id. ¶ 6. OPM forwarded at least part of his request to the Federal Bureau of

                                                                                   Id. ¶ 7. OPM

                                  on behalf of both itself and the FBI in March 2019, releasing

parts of some records and withholding others in part or in full pursuant to various FOIA and

PA exemptions. Id. ¶ 8.

                                                                                     with both

                                                                                    . Id. ¶¶ 9, 14.

Despite resubmitting his appeal to OPM on two separate occasions over the following year,

plaintiff alleges that OPM has yet to respond. Id. ¶¶ 11 12. DOJ, however, did respond, and

affirmed its initial decision to withhold certain FBI records in part or in full. Id. ¶ 15.

Plaintiff has now filed a two-count complaint against both OPM and DOJ seeking, inter alia,

                                          . . any and all non-

FOIA/PA               Id. at 5.

II.    LEGAL STANDARD

       Generally, a complaint must state the names of the parties and address of the plaintiff.

FED. R. CIV. P.                                                                    LCVR 5.1(c)(1)




days of filing may result in the dismissal of t

(same requirement as LCvR 5.1(c)(1)). The Federal Rules thus promote a



the openness of governmenta

                              In re Sealed Case, 931 F.3d 92, 96 (D.C. Cir. 2019) (internal




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citations omitted) (quoting                                                   , 89 F.3d 897, 899

(D.C. Cir. 1996)). Accordingly, parties to a lawsuit must typically openly identify



                                                                                         so

                          United States v. Microsoft Corp., 56 F.3d 1448, 1463 64 (D.C. Cir.

1995) (per curiam) (internal quotation marks and citations omitted).

       Nevertheless, courts have, in special circumstances, permitted a party to proceed

anonymo



                                                                In re Sealed Case, 931 F.3d at

96. When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6



           In re Sealed Case, 931 F.3d at 97. These five factors are:

       (1) whether the justification asserted by the requesting party is merely to avoid the
       annoyance and criticism that may attend any litigation or is to preserve privacy in
       a matter of [a] sensitive and highly personal nature; (2) whether identification poses
       a risk of retaliatory physical or mental harm to the requesting party or[,] even more
       critically, to innocent non-parties; (3) the ages of the persons whose privacy
       interests are sought to be protected; (4) whether the action is against a governmental
       or private party; and relatedly, (5) the risk of unfairness to the opposing party from
       allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).

                                                                                   of ticking the

             Id.

                                      Id. (quoting Sealed Plaintiff v. Sealed Defendant, 537

F.3d 185, 189 90 (2d Cir. 2008)). In exercisin

                                              inquire into the circumstances of particular cases



                                                 3
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unfairness to the opposing party, as well the customary and constitutionally-embedded

                                                       Microsoft Corp., 56 F.3d at 1464 (quoting

James, 6 F.3d at 238 (other internal citations and quotation marks omitted)).

III.    DISCUSSION

        At this early stage of the litigation, the Court is not persuaded that the plaintiff has met

his burden of showing that his                                               presumptive and

substantial interest in knowing the details of judicial litigation.

                                                                      little more than a paragraph of

argument. He contends that

sensitive nature, namely information contained in [his] background investigation and security



confidential                                                                                       Id.

He frets that this reputational dama

                               Id.

damage is wholly speculative. For one, as plaintiff admits,

the contents of his                  Id. Nor has he explained how a negative security clearance

result or the contents of his security file

Id. He does not even explain what industry he is in. Someone looking to advance within the

FBI and someone looking to advance as a medical doctor would have widely divergent

reputational interests in a case like this one.

speculation, the first factor weighs against allowing plaintiff to proceed pseudonymously. See

John Doe Co. No. 1 v. Consumer Fin. Protection Bureau, 195 F. Supp. 3d 9, 17 (D.D.C.




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                                                                                  -                 ; see also Doe

v. Teti, Case No. 1:15-mc-01380, 2015 WL 6689862, *4 (D.D.C. Oct. 19, 2015) (denying a

motion to proceed under pseudonym in a FOIA case when the plaintiff failed to

                                                                                                               .2

         Plaintiff, moreover, does not suggest that proceeding under his true name would put

                                                                   In re Sealed Case, 931 F.3d at 97. Nor

                                                                                                ivacy interests are

                              id., add anything to his case,                                                    3

         Plaintiff correctly notes that allowing him to proceed under pseudonym will have no

impact on any private rights, as the only defendants are government agencies. Pl                             ot. at 3.

The fourth factor thus does not weigh against allowing him to proceed under pseudonym.

Plaintiff is also correct that because defendants are familiar with his identity in connection

with his FOIA/PA requests,                                                            will not compromise the

defendants ability to defend this action and

                                                        Chao, 587 F. Supp. 2d 90, 99 (D.D.C. 2008).

Nonetheless, plaintiff, in failing to substantiate his asserted privacy interests, has not shown

why this case falls in that narrow class of actions for

pseudonymity is justified. Doe, 2015 WL 6689862 at *2 (internal quotation marks and

citation omitted).

         In sum, weighed

processes,



2
          The Court notes that, to the extent this litigation does require the filing of records that contain sensitive
information about plaintiff, he may move to have those records filed under seal. Plaintiff has failed to show why
he is entitled to blanket relief for a problem that may be solved with a more targeted approach.


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                                                                                             In

re Sealed Case, 931 F.3d at 96 (internal quotation marks and citation omitted).

IV.     CONCLUSION AND ORDER

        For the foregoing reasons, it is hereby

        ORDERED that plaintiff s Motion to Proceed Under Pseudonym is DENIED; and it

is further

        ORDERED that the Clerk of the Court is directed not to file

unless plaintiff wishes to proceed with filing the complaint on the public docket under his true

name.

        SO ORDERED.

        Date: July 16, 2020
                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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